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07/31/2020 12:07 AM CDT




                                                               - 498 -
                               Nebraska Supreme Court Advance Sheets
                                        306 Nebraska Reports
                                                     STATE v. GALVAN
                                                     Cite as 306 Neb. 498



                                         State of Nebraska, appellee, v.
                                         Braden M. Galvan, appellant.
                                                        ___ N.W.2d ___

                                        Filed July 17, 2020.     Nos. S‑19‑623, S‑19‑624.

                                                supplemental opinion
                  Appeal from the District Court for Hall County: Mark J.
               Young, Judge. Former opinion modified. Motion for rehear-
               ing overruled.
                 Gerard A. Piccolo, Hall County Public Defender, for
               appellant.
                 Douglas J. Peterson, Attorney General, and Melissa R.
               Vincent for appellee.
                 Heavican, C.J., Miller‑Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.
                  Per Curiam.
                  This case is before us on a motion for rehearing filed by the
               appellee, State of Nebraska, concerning our opinion in State v.
               Galvan, 305 Neb. 513, 941 N.W.2d 183 (2020).
                  We overrule the motion, but modify the opinion as follows:
                  In the analysis section, under the subheading “Plain Error,”
               we withdraw the first two sentences of the fifth paragraph,
               including footnotes 24 and 25. State v. Galvan, 305 Neb. at
               521, 941 N.W.2d at 190.
                  The remainder of the opinion shall remain unmodified.
                                         Former opinion modified.
                                         Motion for rehearing overruled.
